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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS




UNITED STATES OF AMERICA


VS.                         CASE NO. 4:05CR000320 JMM


CLEMENTE LOPEZ MANCILLAS
JESUS NUNEZ GARCIA


                                          ORDER

       The government’s Motion to Dismiss Without Prejudice the case against Clemente Lopez

Mancillas and Jesus Nunez Garcia is granted (#303). The March 9, 2006 superseding

indictment against defendants Clemente Lopez Mancillas and Jesus Nunez Garcia is dismissed.

       IT IS SO ORDERED this 28       day of October, 2008.




                                                         James M. Moody
                                                         United States District Judge
